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 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,              )   CASE NO.   CR-S-07-0047 LKK
                                            )
11                      Plaintiff,          )   ORDER EXCLUDING TIME
                                            )
12   v.                                     )
                                            )
13   AUDREY RENEE BELL,                     )
             Aka Star Bell,                 )
14   SHARON DENESE HUBBS, and               )   COURT: Hon. Lawrence K. Karlton
     TERRI LOUISE ROSS,                     )
15                                          )
                        Defendants.         )
16                                          )
17
18        Following a status conference on September 11, 2007, the court
19   granted the unopposed request for a continuance, made by counsel for
20   defendant Terri Louise Ross.
21        This case was therefore scheduled for a change of plea hearing
22   on September 25, 2007.     Time for trial under the Speedy Trial Act is
23   excluded between September 11, 2007, and September 25, 2005, pursuant
24   to 18 U.S.C. § 3161(h)(8)(A), and (B)(ii) and (iv), Local Codes T-2
25   and T-4.
26              IT IS SO ORDERED.
27   Dated: September 13, 2007.
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